Appendix:B ECF No. 37-2, PagelD.1540 Filed 10/07/24 Page 1 of 3

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STATE OF MICHIGAN
IN THE 45TH DISTRICT COURT

JP MORGAN CHASE BANK NA
Plaintiff(s

-vs- Case No. 22-00061GC
KATRINA I BERGUNDER
Defendant(s)

PRE-TRIAL ORDER

At a session of the 45T District Court held
in Oak Park, Oakland County, Michigan

On: 06/21/22

PRESENT: Hon. Michelle Friedman Appel
DISTRICT JUDGE

This matter having come to be heard at a scheduled pretrial conference and it
appears to this court that:

PLAINTIFF'S POSITION: bd due « rng
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DEFENDANT’S POSITION: Uatleren, que aed Buy

IT IS HEREBY ORDERED THAT: OAK PAR OPY
1. DISCOVERY
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In the event of rejection of case evaluation, costs are mandatory pursuant to
MCR 2.403.

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10.

TRIAL TIME. Estimated trial time for the (Jasy/Non-Jury) trial is
days.

WITNESSES. Parties shall file and exchange the names and addresses of all
witnesses to be called at trial on or before__ "1-22.22
Failure to file a witness list shall result in witness being excluded from
testifying at trial, unless good cause is shown.

MOTIONS. Hearings on all Pig tri -trial Jpagtions and dispositive motions shall be
filed on or before

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EXHIBITS. Parties shall exchange all proposed exhibits no later that 14 days

before trial. Copies of all proposed exhibits shall be enclosed in a sealed

envelope and submitted to the Court (no original, please). Any exhibits

received after said date shall be held inadmissible, unless good cause is

shown. Objections to the exhibits, to the extent they are known, shall be filed

7 days prior to trial.

DEPOSITION. All depositions must be purged not less that 14 days prior to
the jury trial or the objections therein shall be deemed waived.

TRIAL BRIEFS. Trial briefs, if any, are expected 7 days prior to the trial date.

VOIR DIRE AND JURY INSTRUCTIONS. Voir dire is customarily conducted
solely by the Court, however, upon request, attorneys may be allowed to
inquire. Any requested voir dire questions must be filed with the Court, not
less than 7 days prior to trial.

Counsel shall submit written theory of the case, together with written,
proposed jury instruction, and copies of the proposed jury instructions, and
copies of the proposed verdict form not later that 7 days prior to trial.
References may be made to the Standard Jury Instructions (SJI) by number.

Jury questionnaires may be reviewed by presenting a written request to the
jury clerk, prior to commencement of voir dire. The court will not postpone

the commencement of voir dire for.parties to{review jurar questionnaires. The
jury clerk may be reached at a 91-7442)

Hon. M Friedman Appel ouRT 7 45-B
Approved for Entry:
Receipt Acknowledged: pista’ OACHIGAN
OAK P. CORY
Attorney for Plaintiff Attorney for Defendant
OATE 24

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